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 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:13-cr-00052-GMN-GWF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   JOSE RIOS,                                )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          This matter comes before the Court on Rene Valladares and Paul Riddle’s Motion to
14   Withdraw as Counsel (#37) for Defendant Jose Rios, filed on April 25, 2013. Valladares and
15   Riddle, of the Office of the Federal Public Defender (“OFPD”), represent that during the course of
16   their investigation , they discovered the OFPD currently represents another defendant that poses a
17   direct conflict with their representation of Rios. The Court finds the movants establish good cause
18   to withdraw as counsel for Rios. Accordingly,
19          IT IS HEREBY ORDERED that Rene Valladares and Paul Riddle’s Motion to Withdraw
20   as Counsel (#37) is granted.
21          IT IS FURTHER ORDERED that the Court shall conduct a hearing to appoint new
22   counsel on Monday, May 6, 2013 at 9:00AM in LV Courtroom 3A.
23          DATED this 1st day of May, 2013.
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25                                                ______________________________________
                                                  GEORGE FOLEY, JR.
26                                                United States Magistrate Judge
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